                          REDACTED VERSION OF DOCUMENT PROPOSED TO BE FILED UNDER SEAL
                 Case 8:20-cv-00048-JVS-JDE Document 336-1 Filed 04/08/21 Page 1 of 83 Page ID
                                                  #:30445

            1       Joseph R. Re (Bar No. 134479)
            2       joseph.re@knobbe.com
                    Stephen C. Jensen (Bar No. 149894)
            3       steve.jensen@knobbe.com
            4       Perry D. Oldham (Bar No. 216016)
                    perry.oldham@knobbe.com
            5       Stephen W. Larson (Bar No. 240844)
            6       stephen.larson@knobbe.com
                    KNOBBE, MARTENS, OLSON &
            7       BEAR, LLP
            8       2040 Main Street, Fourteenth Floor             JOSHUA H. LERNER, SBN 220755
                    Irvine, CA 92614                                 jlerner@gibsondunn.com
            9       Telephone: (949)-760-0404                      GIBSON, DUNN & CRUTCHER LLP
                                                                   555 Mission Street Suite 3000
          10        Facsimile: (949)-760-9502                      San Francisco, CA 94105
                                                                   Tel.: 415.393.8200 / Fax: 415.393.8306
          11        Adam B. Powell (Bar. No. 272725)
                    adam.powell@knobbe.com                         H. MARK LYON, SBN 162061
          12                                                         mlyon@gibsondunn.com
                    KNOBBE, MARTENS, OLSON &                       GIBSON, DUNN & CRUTCHER LLP
          13        BEAR, LLP                                      1881 Page Mill Road
                    12790 El Camino Real                           Palo Alto, CA 94304-1211
          14        San Diego, CA 92130                            Tel.: 650.849.5300 / Fax: 650.849.5333
                    Telephone: (858) 707-4000;
          15                                                       Attorneys for Defendant Apple Inc.
                    Facsimile: (858) 707-4001
          16                                                       [Additional counsel listed on next page]
                    Attorneys for Plaintiffs Masimo Corp. and
          17        Cercacor Labs., Inc.

          18                      UNITED STATES DISTRICT COURT
                    FOR THE CENTRAL DISTRICT OF CALIFORNIA – SOUTHERN DIVISION
          19
                    MASIMO CORPORATION,                           CASE NO. 8:20-cv-00048-JVS (JDEx)
          20        CERCACOR LABORATORIES, INC.,
          21                            Plaintiffs,               JOINT STIPULATION REGARDING
          22                                                      DEFENDANT APPLE INC.’S MOTION
                          v.
                                                                  TO DE-DESIGNATE
          23        APPLE INC.,
                                                                  Judge:     Magistrate Judge John D. Early
          24                            Defendant.                Date/Time: April 22, 2021 / 10:00 AM
                                                                  Courtroom: 6A
          25
                                                                  Discovery Cutoff:        7/5/2021
          26                                                      Pre-trial Conference:    3/21/2022
                                                                  Trial:                   4/5/2022
          27
          28

Gibson, Dunn &
Crutcher LLP        JOINT STIP. RE APPLE’S MOT. TO DE-DESIGNATE              CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE Document 336-1 Filed 04/08/21 Page 2 of 83 Page ID
                                                  #:30446

            1                                                     BRIAN M. BUROKER, pro hac vice
                                                                   bburoker@gibsondunn.com
            2                                                     BRIAN K. ANDREA, pro hac vice
                                                                   bandrea@gibsondunn.com
            3                                                     GIBSON, DUNN & CRUTCHER LLP
                                                                  1050 Connecticut Avenue, N.W.
            4                                                     Washington, DC 20036
                                                                  Tel.: 202.955.8500 / Fax: 202.467.0539
            5
                                                                  BRIAN A. ROSENTHAL, pro hac vice
            6                                                      brosenthal@gibsondunn.com
                                                                  GIBSON, DUNN & CRUTCHER LLP
            7                                                     200 Park Avenue
                                                                  New York, NY 10166-0193
            8                                                     Tel.: 212.351.2339 / Fax: 212.817.9539
            9                                                     ILISSA SAMPLIN, SBN 314018
                                                                    isamplin@gibsondunn.com
          10                                                      GIBSON, DUNN & CRUTCHER LLP
                                                                  333 South Grand Avenue
          11                                                      Los Angeles, CA 90071-3197
                                                                  Tel.: 213.229.7000 / Fax: 213.229.7520
          12
                                                                  ANGELIQUE KAOUNIS, SBN 209833
          13                                                       akaounis@gibsondunn.com
                                                                  GIBSON, DUNN & CRUTCHER LLP
          14                                                      2029 Century Park East Suite 4000
                                                                  Los Angeles, CA 90067
          15                                                      Tel.: 310.552.8546 / Fax: 310.552.7026
          16                                                      Attorneys for Defendant Apple Inc.
          17
          18
          19
          20
          21
          22
          23
          24
          25
          26
          27
          28

Gibson, Dunn &
Crutcher LLP        JOINT STIP. RE APPLE’S MOT. TO DE-DESIGNATE             CASE NO. 8:20-CV-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE Document 336-1 Filed 04/08/21 Page 3 of 83 Page ID
                                                  #:30447

            1                                              TABLE OF CONTENTS
            2                                                                                                   Page
                    I.    INTRODUCTORY STATEMENTS ................................................................... 1
            3
                          A.       Apple’s Introductory Statement ................................................................. 1
            4
                          B.       Plaintiffs’ Introductory Statement .............................................................. 4
            5
                    II.   ARGUMENT........................................................................................................ 8
            6
                          A.       Allegations in the Fourth Amended Complaint ......................................... 8
            7
                                   1.       Information at Issue ......................................................................... 8
            8
                                   2.       Apple’s Position ............................................................................. 12
            9
                                            a)       The Alleged Trade Secret Category Headings Do Not
          10                                         Reveal Confidential Information and Their Disclosure
                                                     Will Not Harm Plaintiffs ..................................................... 12
          11
                                            b)       Information Published in Patents Is Not Confidential
          12                                         After Publication—Let Alone AEO .................................... 15
          13                                c)       Other Pro Forma Allegations Do Not Satisfy AEO
                                                     Designation Requirements................................................... 25
          14
                                   3.       Plaintiffs’ Position ......................................................................... 27
          15
                                            a)       This Court Has Repeatedly Rejected Apple’s
          16                                         Arguments Regarding The Importance Of In-House
                                                     Access .................................................................................. 27
          17
                                            b)       Plaintiffs’ Trade Secret Categories Are Properly
          18                                         Designated AEO .................................................................. 29
          19                                c)       Apple’s Patents Do Not Affect The Enforceability Of
                                                     Plaintiffs’ Trade Secrets ...................................................... 36
          20
                                            d)       Plaintiffs’ Other Allegations Were Properly
          21                                         Designated But Could Be Disclosed If Sufficiently
                                                     Redacted .............................................................................. 41
          22
                                            e)       Apple’s Requested De-Designation Would Harm
          23                                         Plaintiffs............................................................................... 45
          24                                f)       There is Nothing Unusual or Unfair About Parties
                                                     Having to Rely on Sophisticated Outside Counsel ............. 47
          25
                          B.       Images in the Fourth Amended Complaint .............................................. 52
          26
                                   1.       Information at Issue ....................................................................... 52
          27
                                   2.       Apple’s Position ............................................................................. 53
          28

Gibson, Dunn &
Crutcher LLP        JOINT STIP. RE APPLE’S MOT. TO DE-DESIGNATE                                 CASE NO. 8:20-CV-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE Document 336-1 Filed 04/08/21 Page 4 of 83 Page ID
                                                  #:30448

            1                    3.      Plaintiffs’ Position ......................................................................... 57
            2             C.     Plaintiffs’ ESI Disclosures ....................................................................... 64
            3                    1.      Information at Issue ....................................................................... 64
            4                    2.      Apple’s Position ............................................................................. 66
            5                    3.      Plaintiffs’ Position ......................................................................... 69
            6
            7
            8
            9
          10
          11
          12
          13
          14
          15
          16
          17
          18
          19
          20
          21
          22
          23
          24
          25
          26
          27
          28

Gibson, Dunn &
Crutcher LLP        JOINT STIP. RE APPLE’S MOT. TO DE-DESIGNATE                            CASE NO. 8:20-CV-00048-JVS (JDEX)
Case 8:20-cv-00048-JVS-JDE Document 336-1 Filed 04/08/21 Page 5 of 83 Page ID
                                 #:30449
                 Case 8:20-cv-00048-JVS-JDE Document 336-1 Filed 04/08/21 Page 6 of 83 Page ID
                                                  #:30450

            1             Plaintiffs have not met their burden to justify their AEO designations under the
            2       PO or applicable case law. See PO § 8.4 (“The burden of persuasion in any such
            3       challenge proceeding shall be on the Designating Party.”). The PO’s “Confidential”
            4       designation is for information that “qualif[ies] for protection under [FRCP] 26,” id. §
            5       4.3, because it is “confidential”—i.e., the designating party has a “good faith belief that
            6       it has been maintained in a confidential, non-public manner,” id. § 2. Such information
            7       may be disclosed to officers, directors, and employees of the Receiving Party, a recipient
            8       or custodian of a document containing the information, and witnesses and attorneys
            9       during deposition, among others. See id. § 9.2. The PO’s AEO designation is reserved
          10        for information or items that (1) are “extremely confidential and/or sensitive
          11        ‘Confidential Information or Items,’ [(2) the] disclosure of which to another Party or
          12        Non-Party is likely to cause harm or significant competitive disadvantage to the
          13        Producing Party.” Id. § 4.4 (emphases added). AEO material may be disclosed to a
          14        limited subset of persons with whom Confidential material may be shared, excluding
          15        officers, directors, and employees of the Receiving Party. Id. § 9.3.
          16              Plaintiffs do not argue that the Challenged Information is extremely confidential
          17        or sensitive “Confidential Information,” and they have offered nothing more than
          18        conclusory assertions that the disclosure of the information would cause them harm. The
          19        reason for this is simple: Public information, argument headings, and photographs that
          20        anyone can take do not meet the definition of Confidential, let alone AEO. The
          21        Challenged Information therefore should never have been designated at all.
          22        Nonetheless, in February, after months of trying to resolve these issues, Apple offered
          23        Plaintiffs a reasonable compromise—which is that the relevant portions of the
          24        documents and the pictures, which are not even confidential, be de-designated from
          25        AEO to Confidential. Apple’s modest request is consistent with principles that “strongly
          26        favor[] access to discovery materials to meet the needs of parties engaged in . . .
          27        litigation.” Foltz v. State Farm Mut. Auto. Ins. Co., 331 F.3d 1122, 1131 (9th Cir. 2003).
          28

Gibson, Dunn &
Crutcher LLP        JOINT STIP. RE APPLE’S MOT. TO DE-DESIGNATE 2            CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE Document 336-1 Filed 04/08/21 Page 7 of 83 Page ID
                                                  #:30451

            1             Although Plaintiffs withdrew their AEO designation for a small subset of the
            2       information, they have opted to continue designating critical information that should not
            3       even be Confidential as AEO, thereby shielding it from Apple’s in-house counsel and
            4       potential witnesses who may assist in Apple’s defense. That violates the PO and is
            5       prejudicial to Apple’s ability to defend itself in this case. Plaintiffs’ indiscriminate AEO
            6       designations also undermine the very purpose of an AEO designation—to protect
            7       extremely confidential information deserving of highly restricted dissemination.
            8             Apple and its counsel strove to avoid filing this motion, including by holding three
            9       meet and confers regarding Apple’s de-designation requests and exchanging lengthy
          10        correspondence about potential compromises. Kaounis Decl. ¶¶ 4, 10, 14. Plaintiffs
          11        rejected the majority of Apple’s proposals. Although Plaintiffs offered a “compromise”
          12        on March 5, 2021, it took them weeks to even consent to Apple in-house counsel seeing
          13        the limited “compromise” merely to assess the offer. Id. ¶ 14.
          14              Apple repeatedly urged Plaintiffs to reconsider their position and reminded
          15        Plaintiffs that this Court already has cautioned them “to be very judicious in their
          16        designation of attorney’s-eyes-only information” and do so “as narrowly as possible.”
          17        Kaounis Decl., Ex. M at 213, 238, Masimo v. True Wearables Hr’g Tr. re: Pls.’ Mot. to
          18        Strike, Dec. 10, 2020 (“Hearing Tr.”) at 7:11–12, 32:11. That was not the first time
          19        Masimo has been less than “judicious” with its confidentiality designations. Another
          20        court reprimanded Masimo for similarly overbroad efforts to claim confidentiality,
          21        where the confidentiality assertions were “contradicted by Masimo’s own papers,” and
          22        the Court also found those efforts arguably sanctionable. Kaounis Decl., Ex. N, In re
          23        Sotera Wireless, Inc., Case No. 16-05968-LT11, Dkt. No. 1091, Second Interim Order
          24        On Mots. To Seal Documents (Partial Relief) (Sept. 12, 2017) (“Sotera Second Sealing
          25        Order”) at 250, 258.
          26              For the reasons discussed below, continued AEO protection of the Challenged
          27        Information is not warranted, and the Court should order Plaintiffs to de-designate that
          28        information. To be clear, Apple disagrees that this information should be designated at

Gibson, Dunn &
Crutcher LLP        JOINT STIP. RE APPLE’S MOT. TO DE-DESIGNATE 3            CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE Document 336-1 Filed 04/08/21 Page 8 of 83 Page ID
                                                  #:30452

            1       all. However, solely in the interest of moving this case forward and without prejudice
            2       to its ability to revisit this issue at a later date if necessary to defend itself, Apple requests
            3       that the Court, at the very least, order Plaintiffs to re-designate the information at issue
            4       as “Confidential” only. This designation, which would require Apple’s in-house counsel
            5       and personnel to be bound by the terms of the Protective Order, would at least untie
            6       Apple’s hands enough to permit it to begin fairly defending itself, as it must now that
            7       the Court has ruled on Plaintiffs’ 2019 Disclosure.
            8       B.     Plaintiffs’ Introductory Statement
            9              Plaintiffs already agreed that, if it would resolve the dispute, Apple’s in-house
          10        counsel could access most of the information at issue in the Motion. Apple showed the
          11        information to its in-house counsel, but then asserted the offered access would not
          12        resolve the dispute. Thus, Apple’s in-house counsel has already seen Plaintiffs’ trade
          13        secret categories and most of the allegations at issue in this Motion. Apple’s in-house
          14        counsel also has access to Plaintiffs’ ESI disclosures. Apple brought this motion anyway.
          15               Apple’s motion is not related to preparing its witnesses or its case. Instead, it is a
          16        direct attack on the merits of Plaintiffs’ trade secrets. Nothing suggests that Apple’s in-
          17        house counsel needs more access than they have, or that Apple’s technical employees
          18        need any access to Plaintiffs’ contentions. Apple can fully investigate the facts of this
          19        case and prepare its witnesses without identifying the information Plaintiffs’ allege is
          20        their trade secrets. For example, Apple can ask its witnesses about development of
          21        components of the Apple Watch, drafting Apple’s patents, and information received
          22        from Plaintiffs’ former employees, without disclosing anything about Plaintiffs’ trade
          23        secret allegations. Plaintiffs will similarly be able to question Apple’s witnesses during
          24        depositions and at trial regarding what they did and where they obtained information
          25        without disclosing Plaintiffs’ contentions regarding their trade secrets.
          26               This Court and Judge Selna have repeatedly rejected Apple’s assertion that Apple
          27        needs to disclose Plaintiffs’ alleged trade secrets to in-house counsel or Apple’s
          28        technical employees. This Court did so in the Protective Order by excluding Apple’s in-

Gibson, Dunn &
Crutcher LLP        JOINT STIP. RE APPLE’S MOT. TO DE-DESIGNATE 4                CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE Document 336-1 Filed 04/08/21 Page 9 of 83 Page ID
                                                  #:30453

            1       house counsel from accessing Plaintiffs’ trade secret disclosure. See Kaounis Decl.
            2       Ex. AJ (Dkt. 93) at 4-5. Judge Selna rejected a similar attempt by Apple to argue that
            3       Plaintiffs could not seal the selection of material that disclosed Plaintiffs’ trade secrets.
            4       See Katzenellenbogen Decl., Ex. 3 (Dkt. 148). This case is no different than other
            5       technology cases between competitors where the parties must rely on sophisticated
            6       outside counsel and accept that the parties will not know some information.
            7             Moreover, the restrictions go both ways. Plaintiffs’ counsel are constrained by
            8       their inability to discuss Apple’s technical documents with Plaintiffs’ in-house counsel
            9       or technical employees. This limits Plaintiffs’ ability to obtain valuable input from
          10        Plaintiffs’ employees about that technology and how it relates to Plaintiffs’ trade secrets,
          11        including how to explain that Apple’s technology uses and was developed with
          12        Plaintiffs’ trade secrets. While sometimes frustrating, those limitations are reasonable.
          13              With regard to the specific information at issue, Plaintiffs properly designated the
          14        categories of technical trade secrets as AEO. Apple asserts the descriptions are not trade
          15        secrets in and of themselves, but the AEO tier is not limited to trade secrets. As this
          16        Court recently observed in True Wearables: “It doesn’t even have to be a trade secret to
          17        be AEO. That’s one ground. It can also be highly confidential or business.” Kaounis
          18        Decl., Ex. M at 228. The category descriptions are extremely confidential and sensitive
          19        information that, if disclosed, would harm Plaintiffs by unfairly allowing Apple or others
          20        to focus their research efforts along paths Plaintiffs spent decades identifying. Plaintiffs
          21        already allowed Apple’s in-house counsel to see this information, and Apple can ask its
          22        scientists and engineers how they supposedly developed Apple’s technology. Doing so
          23        allows Apple to fully investigate the facts and prepare its defense. However, Apple
          24        should not be allowed to tell its scientists or engineers what Plaintiffs’ have identified
          25        as their trade secrets. Disclosing such information would tell Apple’s scientists and
          26        engineers where to focus their research to try to learn Plaintiffs’ trade secrets.
          27              Apple argues that some of Plaintiffs’ designations are improper because Apple’s
          28        patents contain similar language. But Apple’s patents do not identify that material is a

Gibson, Dunn &
Crutcher LLP        JOINT STIP. RE APPLE’S MOT. TO DE-DESIGNATE 5             CASE NO. 8:20-cv-00048-JVS (JDEX)
             Case 8:20-cv-00048-JVS-JDE Document 336-1 Filed 04/08/21 Page 10 of 83 Page ID
                                               #:30454

            1    trade secret, much less that it is Plaintiffs’ trade secret. Apple’s motion thus improperly
            2    seeks judgment on the merits that Apple’s publication rendered Plaintiffs’ trade secrets
            3    generally known. Apple made and lost this same argument when moving to dismiss
            4    Plaintiffs’ complaint. Judge Selna held the Court cannot determine, prior to summary
            5    judgment, the effect of publication in a patent on Plaintiffs’ trade secrets generally
            6    known. See Katzenellenbogen Decl., Ex. 10 (Dkt. 264) at 7. That is a fact-intensive issue
            7    that cannot be resolved on a motion to dismiss, much less a procedural motion to de-
            8    designate. Thus, courts properly maintain the secrecy of alleged trade secrets throughout
            9    litigation until a final determination on the merits.
          10            Plaintiffs also properly designated images and combinations of images of selected
          11     portions of the Apple Watch. Plaintiffs used these images to identify Plaintiffs’ trade
          12     secrets in specific structures and features of the Apple Watch. Apple concedes that the
          13     annotations to the images are properly designated AEO, but asserts that pictures similar
          14     to some of the images (without annotations) are public or could be created. Apple does
          15     not address that Plaintiffs created and selected only specific images of the Apple Watch,
          16     some of which include cut-away portions of the watch that highlight individual features.
          17     Apple also ignores that context matters. Plaintiffs’ identification of these specific images
          18     and combinations of images as illustrating Apple’s incorporation of Plaintiffs’ trade
          19     secrets identifies what Plaintiffs contend are their trade secrets. These are not random
          20     pictures or pictures of every component of the Apple Watch. Apple can show its in-
          21     house counsel or employees public pictures and ask how the Apple Watch was
          22     developed, but Apple cannot disclose Plaintiffs’ selection of images or that the images
          23     illustrate Plaintiffs’ trade secrets.
          24            Finally, Plaintiffs properly designated their ESI disclosure as AEO because it is
          25     extremely confidential and sensitive information that identifies Plaintiffs’ employees
          26     who were involved in developing or otherwise have knowledge of the trade secrets. This
          27     information is not public. Apple’s arguments again ignore that context matters. While
          28     Apple may be able to find public LinkedIn profiles for some employees, Apple would

Gibson, Dunn &
Crutcher LLP     JOINT STIP. RE APPLE’S MOT. TO DE-DESIGNATE 6            CASE NO. 8:20-cv-00048-JVS (JDEX)
             Case 8:20-cv-00048-JVS-JDE Document 336-1 Filed 04/08/21 Page 11 of 83 Page ID
                                               #:30455

            1    have no way of knowing which of the hundreds of Plaintiffs’ employees on LinkedIn
            2    are key employees with knowledge of particular trade secrets. Disclosure of this
            3    information is likely to harm Plaintiffs by allowing competitors to target and recruit
            4    specific employees. This concern is particularly acute with respect to Apple, which has
            5    already targeted and recruited key Plaintiffs’ employees. Moreover, Plaintiffs agreed
            6    that Apple’s in-house counsel could have access to the ESI custodian list. There is no
            7    reason Apple’s other employees would need to see it. As discussed below, all the
            8    information at issue was properly designated AEO.
            9
          10
          11
          12
          13
          14
          15
          16
          17
          18
          19
          20
          21
          22
          23
          24
          25
          26
          27
          28

Gibson, Dunn &
Crutcher LLP     JOINT STIP. RE APPLE’S MOT. TO DE-DESIGNATE 7         CASE NO. 8:20-cv-00048-JVS (JDEX)
Case 8:20-cv-00048-JVS-JDE Document 336-1 Filed 04/08/21 Page 12 of 83 Page ID
                                  #:30456
Case 8:20-cv-00048-JVS-JDE Document 336-1 Filed 04/08/21 Page 13 of 83 Page ID
                                  #:30457
Case 8:20-cv-00048-JVS-JDE Document 336-1 Filed 04/08/21 Page 14 of 83 Page ID
                                  #:30458
Case 8:20-cv-00048-JVS-JDE Document 336-1 Filed 04/08/21 Page 15 of 83 Page ID
                                  #:30459
Case 8:20-cv-00048-JVS-JDE Document 336-1 Filed 04/08/21 Page 16 of 83 Page ID
                                  #:30460
Case 8:20-cv-00048-JVS-JDE Document 336-1 Filed 04/08/21 Page 17 of 83 Page ID
                                  #:30461
             Case 8:20-cv-00048-JVS-JDE Document 336-1 Filed 04/08/21 Page 18 of 83 Page ID
                                               #:30462

            1    Sep. 22, 2020). There, the court considered a de-designation request concerning AEO
            2    interrogatory responses that identified broad categories of information. Id. at *1. The
            3    court concluded that the plaintiff had not met its burden to establish that the responses
            4    warranted an AEO designation when they “merely identif[ied] broad categories of
            5    information and processes that [plaintiff] considers to be trade secrets.” Id. at *2
            6    (emphasis added). Similarly here, the category names of the alleged technical trade
            7    secrets are high level and do not come close to revealing any trade secret information—
            8    as this Court has already concluded. For this reason, disclosure of these headings—in
            9    particular to Apple’s in-house counsel and personnel—cannot and will not cause
          10     competitive harm to Plaintiffs.
          11           Plaintiffs’ argument that knowing the headings alone would enable a competitor
          12     to determine what Plaintiffs consider to be purportedly valuable trade secrets, Kaounis
          13     Decl., Ex. H at 47–48, is baseless for the same reasons—the headings are too broad to
          14     reveal anything confidential. This argument is also not sufficient to overcome the need
          15     for Apple’s in-house counsel and personnel to see this information to defend this suit.
          16     Indeed, allowing the information to be shared with Apple’s in-house counsel and
          17     personnel could not create any risk of harm to Plaintiffs. These individuals will be bound
          18     by the terms of the PO, which provides that confidential information “shall be used
          19     solely for this case . . . and not for . . . any business or competitive purpose or function”
          20     and cannot “be distributed, disclosed or made available to anyone except as expressly
          21     provided in [the PO].” PO § 5.1 (emphases added).
          22           As discussed further below (in Section III.A.1(b)), outside counsel needs to be
          23     able to explain to Apple witnesses the general subject matter of the claimed technical
          24     trade secrets at issue. Identifying witnesses and documents related to this case has been
          25     very difficult due to Plaintiffs’ overbroad AEO designations. See id.; see also Mitchell,
          26     2020 WL 2736094 at *3 (“Defendants must know broadly what trade secrets are at issue
          27     in order to address whether they had access to that information. . . . Those issues can be
          28     addressed only by the parties themselves, not by retained experts.”). Plaintiffs do not

Gibson, Dunn &
Crutcher LLP     JOINT STIP. RE APPLE’S MOT. TO DE-DESIGNATE 14            CASE NO. 8:20-cv-00048-JVS (JDEX)
Case 8:20-cv-00048-JVS-JDE Document 336-1 Filed 04/08/21 Page 19 of 83 Page ID
                                  #:30463
Case 8:20-cv-00048-JVS-JDE Document 336-1 Filed 04/08/21 Page 20 of 83 Page ID
                                  #:30464
Case 8:20-cv-00048-JVS-JDE Document 336-1 Filed 04/08/21 Page 21 of 83 Page ID
                                  #:30465
             Case 8:20-cv-00048-JVS-JDE Document 336-1 Filed 04/08/21 Page 22 of 83 Page ID
                                               #:30466

            1
            2
            3
            4
            5
            6
            7
            8
                  ¶
            9     40(11)
          10
          11
          12
          13
          14
          15
          16
          17
                  ¶
          18      40(12)
          19
          20
          21
          22
          23
          24      ¶
                  40(13)
          25
          26
          27
          28

Gibson, Dunn &
Crutcher LLP     JOINT STIP. RE APPLE’S MOT. TO DE-DESIGNATE 18   CASE NO. 8:20-cv-00048-JVS (JDEX)
Case 8:20-cv-00048-JVS-JDE Document 336-1 Filed 04/08/21 Page 23 of 83 Page ID
                                  #:30467
Case 8:20-cv-00048-JVS-JDE Document 336-1 Filed 04/08/21 Page 24 of 83 Page ID
                                  #:30468
Case 8:20-cv-00048-JVS-JDE Document 336-1 Filed 04/08/21 Page 25 of 83 Page ID
                                  #:30469
             Case 8:20-cv-00048-JVS-JDE Document 336-1 Filed 04/08/21 Page 26 of 83 Page ID
                                               #:30470

            1    developed the technology described in Apple’s patents “is valuable information” by
            2    virtue of its secrecy—because they themselves have already publicly disclosed that they
            3    allegedly developed this technology. For these reasons, Plaintiffs also cannot satisfy the
            4    second requirement of the AEO designation—that “disclosure” is likely to cause them
            5    “harm or significant competitive disadvantage.” PO § 4.4.
            6          This Court already has found that such conclusory statements by litigation
            7    counsel—attempting to justify overbroad and improper AEO designations—do not
            8    satisfy these Plaintiffs’ burden of persuasion. See Kaounis Decl., Ex. M at 230 (Masimo
            9    v. True Wearables, Hearing Tr. at 24:4–6 (asking Plaintiffs’ counsel, “[i]s there anything
          10     from an evidentiary section that supports that [argument regarding disclosure causing an
          11     unnecessary risk of harm]?”)). Indeed, it is well settled that “courts have insisted on a
          12     particular and specific demonstration of fact, as distinguished from stereotyped and
          13     conclusory statements” in order to sustain such designations. 8A Wright & A. Miller,
          14     Fed. Prac. & Proc. § 2035 (3d ed.). Here, Plaintiffs have not “successfully carr[ied] the
          15     burden of establishing good cause for the confidentiality designations” by (1)
          16     demonstrating the “materials fall into one of the[ Protected] categories,” (2) showing “a
          17     particular need for protection exists,” and (3) proffering “evidence that a clearly defined
          18     and serious injury will result otherwise.” In re Syngenta Actions, 2018 WL 309837, at
          19     *2 (S.D. Ill. Jan. 5, 2018) (emphasis added; granting motion to de-designate and noting
          20     that “Cargill fails to demonstrate the commercial sensitivity of the challenged material,
          21     using only generalized conclusory terms to bolster why Cargill would suffer a
          22     competitive disadvantage if publicized”); see also Parsons Xtreme Gold LL v. Taylor
          23     Made Gold Co., 2018 WL 6242280, at *8 (D. Ariz. 2018) (“Taylor Made’s arguments
          24     concerning future harm (which are tellingly not substantiated with an affidavit) are
          25     largely based on ‘mights’ and ‘ifs’ about potential new strategies and designs that either
          26     company could theoretically pursue in the future. This is too slender and speculative of
          27     a reed on which to deprive PXG’s principals of access to important documents in this
          28     litigation.”). “[R]hetorical cliche proffered by trial counsel is manifestly inadequate” to

Gibson, Dunn &
Crutcher LLP     JOINT STIP. RE APPLE’S MOT. TO DE-DESIGNATE 22           CASE NO. 8:20-cv-00048-JVS (JDEX)
             Case 8:20-cv-00048-JVS-JDE Document 336-1 Filed 04/08/21 Page 27 of 83 Page ID
                                               #:30471

            1    demonstrate “good cause” under the Protective Order or Rule 26(c). Worldwide Home
            2    Prod., Inc. v. Time, Inc., 2012 WL 1528533, at *1 (S.D.N.Y. May 1, 2012) (“All that
            3    we have been offered is a general and conclusory assertion in defendants’ memorandum
            4    of law that the agreement contains unspecified ‘highly confidential’ information and
            5    ‘sensitive business terms.’”).
            6          Plaintiffs also argue that the Court has previously agreed to seal this information
            7    and, in the context of finalizing the protective order, did not grant Apple in-house
            8    counsel blanket access to Plaintiffs’ alleged trade secrets. See Kaounis Decl., Ex. H at
            9    46. That the Court may have previously agreed to seal the Challenged Information that
          10     Plaintiffs seek to maintain as AEO is irrelevant because the standard for sealing—i.e.,
          11     “confidential, privileged, or otherwise protectable,” PO § 3—is less stringent than that
          12     for an AEO designation, which is reserved for “extremely confidential” or “sensitive
          13     ‘Confidential Information or Items,’” the disclosure of which is “likely to cause harm or
          14     significant competitive disadvantage” to Plaintiffs, id. § 4.4. Likewise, the Court’s prior
          15     denial of in-house counsel’s access to the trade secrets writ large does not insulate
          16     Plaintiffs from specific challenges to public information that does not merit AEO
          17     protection. For example, the Court at that time was not presented with evidence of
          18     Plaintiffs’ repeated citation to Apple’s patents in their own Information Disclosure
          19     Statements to the United States Patent and Trademark Office. See Kaounis Decl., Exs.
          20     AC, AD, AE, AF, & AG. Accordingly, the Court could not have decided “facts or
          21     proposal[s] that were not placed before it in the Motion [for a Protective Order].”
          22     Kaounis Decl., Ex. AJ at 647 (Order Denying Motion for Reconsideration, Dkt. No. 93).
          23           Also, contrary to Plaintiffs’ contentions, Apple is not making a merits argument
          24     here, i.e., that the information was never Plaintiffs’ trade secret. Rather, Apple is making
          25     the point that because the information is presently indisputably public, Apple must be
          26     able to share it with in-house counsel and Apple employees at this time for the purpose
          27     of defending itself against this suit. This is a matter of fairness: Apple has been accused
          28

Gibson, Dunn &
Crutcher LLP     JOINT STIP. RE APPLE’S MOT. TO DE-DESIGNATE 23           CASE NO. 8:20-cv-00048-JVS (JDEX)
Case 8:20-cv-00048-JVS-JDE Document 336-1 Filed 04/08/21 Page 28 of 83 Page ID
                                  #:30472
             Case 8:20-cv-00048-JVS-JDE Document 336-1 Filed 04/08/21 Page 29 of 83 Page ID
                                               #:30473

            1    witnesses or third parties—such as, for example, their and Apple’s former employee
            2    Marcelo Lamego—about specific portions of Apple’s patents without those individuals
            3    being able to review the information in the context of Plaintiffs’ assertion that those
            4    portions of the patents contain Plaintiffs’ alleged secrets. Put differently, Plaintiffs
            5    apparently expect Apple’s witnesses to guess which information in Apple’s patents is
            6    purportedly Plaintiffs’ misappropriated secrets and what they have been accused of
            7    misappropriating. Apple certainly cannot adequately prepare its witnesses under such
            8    circumstances because it could not explain to its witnesses which portions of the patents
            9    are the subject of Plaintiffs’ claim. Alternatively, if Plaintiffs do intend to show the
          10     specific portions of the patents to those witnesses, then such information cannot be
          11     subject to AEO designations. See PO §§ 9.2(j) & 9.3. Fundamental fairness requires
          12     that this information be de-designated. Again, Plaintiffs’ designations would lead to an
          13     absurd and unfair result: Apple witnesses would be prevented from knowing which
          14     portions of Apple’s own patents Plaintiffs allege contain Plaintiffs’ trade secrets until (if
          15     at all) those witnesses are questioned in deposition about such information.
          16           The Court should order Plaintiffs to withdraw their AEO designation of the
          17     allegations identified in foregoing chart (paragraphs 40(10)–(15) and 42(4)–(5) of the
          18     4th AC, and similar information in the 2019 Disclosure), as well as the allegations in
          19     paragraphs 235 and 243 of the 4th AC that merely cite to locations in Apple’s patents.
          20                  c)     Other Pro Forma Allegations Do Not Satisfy AEO Designation
          21                         Requirements
          22           None of the other allegations from the 4th AC that are at issue (see supra Section
          23     I.A, citing 4th AC ¶¶ 234, 236–237, 241–242, 244, 247, 250, 253–254, 256, 258) merit
          24     an AEO designation—or any designation at all.
          25           These allegations include generic assertions about Plaintiffs’ development of their
          26     alleged trade secrets (4th AC ¶¶ 234, 237, 242, 254), perfunctory claims of
          27     misappropriation by their former employees (Lamego and O’Reilly) which reference the
          28     high-level categories of the alleged trade secrets (id. ¶¶ 236, 241, 244, 247, 253, 256,

Gibson, Dunn &
Crutcher LLP     JOINT STIP. RE APPLE’S MOT. TO DE-DESIGNATE 25            CASE NO. 8:20-cv-00048-JVS (JDEX)
Case 8:20-cv-00048-JVS-JDE Document 336-1 Filed 04/08/21 Page 30 of 83 Page ID
                                  #:30474
             Case 8:20-cv-00048-JVS-JDE Document 336-1 Filed 04/08/21 Page 31 of 83 Page ID
                                               #:30475

            1          3.     Plaintiffs’ Position
            2          Plaintiffs’ allegations in the Fourth Amended Complaint identify Plaintiffs’ trade
            3    secrets and other highly confidential and highly sensitive information that, if disclosed,
            4    would harm and competitively disadvantage Plaintiffs. Apple asserts that Plaintiffs’
            5    allegations identifying which information is important are somehow public. Apple’s
            6    arguments are incorrect and ignore that context matters. Part of what is confidential
            7    about these allegations is that they identify particular features and technology that
            8    Plaintiffs allege are Plaintiffs’ trade secrets.
            9          Apple does not and cannot assert that these allegations regarding the scope and
          10     content of Plaintiffs’ trade secrets are generally known. Indeed, if those allegations were
          11     public, Apple would refer its employees to those public sources. Thus, Apple’s request
          12     to de-designate confirms that the material Apple seeks to de-designate is not public.
          13     Apple also improperly asks this Court to address the merits of Apple’s arguments that
          14     Judge Selna previously confirmed are fact intensive issues that cannot be resolved prior
          15     to summary judgment.
          16                  a)     This Court Has Repeatedly Rejected Apple’s Arguments
          17                         Regarding The Importance Of In-House Access
          18           Throughout its portion of the Joint Stipulation, Apple reargues an issue it
          19     repeatedly lost. Specifically, Apple argues that, without access to Plaintiffs’ trade
          20     secrets, Apple would be “hampered in its ability to adequately defend itself in this
          21     litigation—including in collecting documents and interviewing witnesses.” Jt. Stip. at
          22     12. Apple already made—and this Court rejected—this same argument many times.
          23           In the Motion for Protective Order, Apple asked the Court to allow in-house
          24     counsel access to Plaintiffs’ trade secret disclosure because they “need to know the
          25     purported trade secrets that Plaintiffs contend were misappropriated” to “advise on
          26     strategy—and, more importantly, to guide document collection and production . . . .”
          27
          28

Gibson, Dunn &
Crutcher LLP     JOINT STIP. RE APPLE’S MOT. TO DE-DESIGNATE 27           CASE NO. 8:20-cv-00048-JVS (JDEX)
             Case 8:20-cv-00048-JVS-JDE Document 336-1 Filed 04/08/21 Page 32 of 83 Page ID
                                               #:30476

            1    Ex. 1 (Dkt. 61-1) at 47-48.3 The Court rejected Apple’s position. Ex. AI (Dkt. 67). Apple
            2    then filed a motion for reconsideration, arguing in-house counsel needed access for
            3    Apple to defend itself. Ex. 2 (Dkt. 72-1). This Court again rejected Apple’s position,
            4    explaining it considered Apple’s “proposal and its supporting evidence and argument on
            5    this issue” but disagreed because it “found Plaintiffs’ position was well-taken and
            6    supported by good cause.” Ex. AJ (Dkt. 93) at 5.
            7          Judge Selna also rejected a similar attempt by Apple to argue that Plaintiffs could
            8    not seal the selection of material that disclosed Plaintiffs’ trade secrets. In opposing
            9    Plaintiffs’ motion for preliminary injunction, Apple cobbled together numerous
          10     references in a chart that attempted to show Plaintiffs’ trade secret was generally known.
          11     Plaintiffs moved to seal the material, and Apple argued Plaintiffs were seeking to seal
          12     public information, asserted the request was “frivolous,” and asked the Court to sanction
          13     Plaintiffs. Ex. 3 (Dkt. 148) at 1, 6. As in this Motion, Apple argued material was not
          14     confidential because it had been published in a different context. Id. at 3. Plaintiffs
          15     explained that Apple ignored the context of its quotations, which addressed what
          16     Plaintiffs identified as their trade secret. Ex. 4 (Dkt. 149) at 1-2. The Court summarily
          17     rejected Apple’s position and ordered the clerk to seal Apple’s filing. Ex. 5 (Dkt. 152).
          18           Apple argues that Judge Selna’s ruling is irrelevant because the standard for
          19     sealing information is “less stringent than that for an AEO designation . . . .” Jt. Stip. at
          20     23. To the contrary, the Protective Order suggests that it is not a lower standard. See Ex.
          21     AI (Dkt. 67) at 2 (designating information under the Protective Order “does not entitle”
          22     the parties to file information under seal because Local Rule 79-5 sets forth the relevant
          23     procedures). Indeed, the Court rejected Apple’s argument that designating information
          24     AEO was “presumptively deemed to present good cause for filing under seal.” Ex. 1
          25
          26
                 3
                  In Plaintiffs’ sections of the Joint Stipulation, citations to lettered exhibits are to the
          27     exhibits attached to the Declaration of Angelique Kaounis and citations to numbered
          28     exhibits are to the exhibits attached to the Declaration of Ben Katzenellenbogen. All
                 emphasis in Plaintiffs’ sections is added unless noted otherwise.
Gibson, Dunn &
Crutcher LLP     JOINT STIP. RE APPLE’S MOT. TO DE-DESIGNATE 28            CASE NO. 8:20-cv-00048-JVS (JDEX)
             Case 8:20-cv-00048-JVS-JDE Document 336-1 Filed 04/08/21 Page 33 of 83 Page ID
                                               #:30477

            1    (Dkt. 61-1) at 7-8. Regardless of whether the standard is lower, higher, or simply
            2    different, Judge Selna’s sealing Order appears to reflect a determination that Apple’s in-
            3    house counsel do not need to see Plaintiffs’ trade secret categories for Apple to defend
            4    itself.
            5              Apple now asks the Court to contradict these prior rulings by allowing disclosure
            6    of this information to in-house counsel, and to further contradict the prior rulings by
            7    allowing disclosure of this information to Apple’s engineers and management. The
            8    Court should reject Apple’s attempt to reargue this issue for the third time.
            9              Apple also directly challenges the need for an AEO tier by asserting that “Apple’s
          10     in-house counsel and personnel could not create any risk of harm to Plaintiffs” because
          11     the Protective Order “provides that confidential information ‘shall be used solely for this
          12     case . . . and not for . . . any business or competitive purpose or function . . . .’” Jt. Stip.
          13     at 14 (citing PO § 5.1). If that were sufficient, there would be no need for an AEO (or
          14     Source Code) designation. As discussed, Apple made, and lost, similar arguments when
          15     the parties briefed the terms of the Protective Order. See Ex. 1 (Dkt. 61-1), Exs. AI &
          16     AJ (Dkts. 67 & 93), Ex. 2 (Dkt. 72-1). Even if Apple’s employees have the best of
          17     intentions, the Protective Order prohibits Apple’s in-house counsel and engineers from
          18     having access to Plaintiffs’ trade secrets and other highly confidential information based
          19     on the risk of inadvertent use or disclosure.
          20                     b)     Plaintiffs’ Trade Secret Categories Are Properly Designated
          21                            AEO
          22               Plaintiffs properly designated as AEO their description of four categories of
          23     technical trade secrets at issue. Apple’s arguments regarding whether the phrases
          24     constitute separately protectable trade secrets in and of themselves are beside the point.
          25     Information does not have to be trade secrets to be AEO. Under the Protective Order,
          26     information is properly designated AEO if it is extremely confidential or sensitive and
          27     disclosing it to another party or non-party is likely to cause harm or significant
          28     competitive disadvantage. Ex. AI (Dkt. 67) ¶ 4.4.

Gibson, Dunn &
Crutcher LLP     JOINT STIP. RE APPLE’S MOT. TO DE-DESIGNATE 29              CASE NO. 8:20-cv-00048-JVS (JDEX)
Case 8:20-cv-00048-JVS-JDE Document 336-1 Filed 04/08/21 Page 34 of 83 Page ID
                                  #:30478
Case 8:20-cv-00048-JVS-JDE Document 336-1 Filed 04/08/21 Page 35 of 83 Page ID
                                  #:30479
Case 8:20-cv-00048-JVS-JDE Document 336-1 Filed 04/08/21 Page 36 of 83 Page ID
                                  #:30480
Case 8:20-cv-00048-JVS-JDE Document 336-1 Filed 04/08/21 Page 37 of 83 Page ID
                                  #:30481
             Case 8:20-cv-00048-JVS-JDE Document 336-1 Filed 04/08/21 Page 38 of 83 Page ID
                                               #:30482

            1    namely Plaintiffs’ identification of their trade secrets categories at issue in this case. This
            2    information is properly designated AEO because it would convey to competitors where
            3    to focus their efforts by allowing them to piggyback on the decades of research that
            4    informed Plaintiffs’ focus on these areas.
            5          Apple’s reliance on Mitchell Int’l, Inc. v. HealthLift Pharmacy Servs., LLC,
            6    2020 WL 2736094, at *2 (D. Utah May 26, 2020), aff’d, 2020 WL 5645321 (D. Utah
            7    Sept. 22, 2020), is misplaced. The court began by recognizing that “courts routinely
            8    allow documents containing trade secrets to be designated as ‘attorneys’ eyes only’ in
            9    litigation between competitors.” Id. at *1. Although the case involved designation of
          10     “broad categories” that did not qualify for AEO protection, those categories were much
          11     broader and far less descriptive than the trade secret categories at issue here. The
          12     interrogatory responses at issue stated the plaintiff “uses algorithms to make certain
          13     determinations and identifies the algorithms as a trade secrets, but the algorithms
          14     themselves are neither included nor described in detail.” Id. at *2. The responses also
          15     identified “documents and electronic files purportedly containing trade secrets, but do
          16     not provide the contents of those documents or files.” Id. Nothing suggested that the
          17     information in the interrogatory response in Mitchell identified the type of trade secret
          18     algorithms, or that a competitor could use the statements to research and potentially
          19     identify the trade secret algorithms. Thus, there was no risk of harm. The four phrases
          20     at issue here are much more specific and identify categories of Plaintiffs’ trade secrets
          21     in sufficient detail that disclosing them to Apple or third parties would harm Plaintiffs.
          22     See Diab Decl., ¶¶ 4, 6-7. Moreover, Mitchell observed that the interrogatory responses
          23     at issue “do not provide any actual, underlying data or a detailed description of the
          24     processes.” Mitchell, 2020 WL 2736094, at *2 (emphasis added); see also id. (observing
          25     the “interrogatory responses contain nothing akin to technical or financial data,
          26     algorithms, or software codes”). Thus, the broad categories in Mitchell were provided in
          27     lieu of, not in addition to, identification of more specific trade secrets. That is not the
          28     case here. Thus, Mitchell is inapplicable for numerous reasons.

Gibson, Dunn &
Crutcher LLP     JOINT STIP. RE APPLE’S MOT. TO DE-DESIGNATE 34             CASE NO. 8:20-cv-00048-JVS (JDEX)
             Case 8:20-cv-00048-JVS-JDE Document 336-1 Filed 04/08/21 Page 39 of 83 Page ID
                                               #:30483

            1          Apple’s arguments reflect two legally improper approaches. First, Apple disputes
            2    the established legal premise that information can be “hidden in plain sight.” Apple is
            3    wrong. Trade secrets can include information that was “long unnoticed upon the public
            4    commons” until, through decades of research, “one more observant than the rest makes
            5    discovery.” See A.O. Smith, 73 F.2d at 539. Knowing a technique is worth investigating
            6    because it will work in particular circumstances is also protectable. See Head Ski, 158
            7    F. Supp. at 923 (“knowledge of the particular process, method or material which is most
            8    appropriate to achieve the desired result may itself be a trade secret”). Knowing the
            9    approaches that Plaintiffs employ would be particularly valuable to competitors because
          10     Plaintiffs spent decades developing the industry leading technology.
          11           Arguing that someone else, through decades of their own research, could also
          12     have discovered the importance of Plaintiffs’ categories of trade secrets does not render
          13     that information generally known or make any step along the path to its discovery less
          14     confidential. Contrary to Apple’s suggestion, a trade secret need not appear “patentably
          15     nonobvious or novel.” Imi-Tech Corp. v. Gagliani, 691 F. Supp. 214, 231 (S.D. Cal.
          16     1986). That “misconceive[s] what constitutes a trade secret.” By-Buk Co. v. Printed
          17     Cellophane Tape Co., 163 Cal. App. 2d 157, 166 (1958). A trade secret need not “be
          18     patentable or be something that could not be discovered by others by their own labor
          19     and ingenuity.” Id. “The character of the secrets” is “not material.” Id. at 164. What
          20     matters is whether a trade secret is “important to the business” and “kept secret by the
          21     one who claims it.” Id. at 164, 166. Plaintiffs’ trade secret categories are both important
          22     to their business and kept secret. See Diab Decl., ¶ 5.
          23           Second Plaintiffs are concerned that, if Apple were allowed to disclose aspects of
          24     Plaintiffs’ trade secrets in various filings, Apple could later try to cobble together those
          25     disclosures to argue that additional material is “public” and should be unsealed. Indeed,
          26     the Court found that Apple improperly failed to redact Plaintiffs’ trade secrets in one
          27     filing. See Ex. 5 (Dkt. 152). The Court should not allow Apple to publicize individual
          28

Gibson, Dunn &
Crutcher LLP     JOINT STIP. RE APPLE’S MOT. TO DE-DESIGNATE 35            CASE NO. 8:20-cv-00048-JVS (JDEX)
             Case 8:20-cv-00048-JVS-JDE Document 336-1 Filed 04/08/21 Page 40 of 83 Page ID
                                               #:30484

            1    pieces of information through this litigation, much less allow Apple to argue that the
            2    totality of Apple’s disclosures affects the enforceability of Plaintiffs’ trade secrets.
            3          For all of the reasons discussed above, Plaintiffs four categories of trade secrets
            4    are properly designated as AEO.
            5                 c)     Apple’s Patents Do Not Affect The Enforceability Of Plaintiffs’
            6                        Trade Secrets
            7          Apple next asks this Court for a determination that disclosures in Apple’s patents
            8    destroyed some of Plaintiffs’ trade secrets such that Plaintiffs cannot properly designate
            9    the material. Judge Selna already rejected that argument. Months ago, Apple sought to
          10     dismiss Plaintiffs’ allegations regarding trade secrets that Apple improperly disclosed in
          11     Apple’s patents. See Ex. 9 (Dkt. 241) at 5-7. Apple made the same argument it makes
          12     here; namely that anything disclosed in a patent is no longer a trade secret as a matter of
          13     law. See id. Judge Selna rejected Apple’s argument and held that whether information
          14     is generally known is a factual issue that cannot be determined on a motion to dismiss.
          15     See Ex. 10 (Dkt. 264) at 7. Judge Selna held that “the Court will not undertake a
          16     summary judgment-like review of the patents at issue in comparison to the alleged trade
          17     secret information to determine whether information has been made public, particularly
          18     at the pleading stage where all inferences are to be drawn in Plaintiffs’ favor.” Id.
          19     (quoting MACOM Tech. Sols. Inc. v. Litrinium, Inc., 2019 WL 4282906, at *7 (C.D. Cal.
          20     June 3, 2019)). It would be similarly improper to make such a “summary judgment-like”
          21     determination on a procedural motion to de-designate under the Protective Order. See
          22     id.
          23           Apple’s arguments on the merits are inappropriate on this procedural motion
          24     because, as Apple’s previously cited authority explains, the issue of public disclosure in
          25     a patent is a factual issue “for the jury to decide.” Atl. Research Mktg. Sys., Inc. v. Troy,
          26     659 F.3d 1345, 1357 (Fed. Cir. 2011) (emphasis added). Mere publication does not
          27     establish that information is “generally known” under California law, such that the
          28     information is not a trade secret. See Cal. Civ. Code § 3426.1(d); Kittrich Corp. v.

Gibson, Dunn &
Crutcher LLP     JOINT STIP. RE APPLE’S MOT. TO DE-DESIGNATE 36            CASE NO. 8:20-cv-00048-JVS (JDEX)
             Case 8:20-cv-00048-JVS-JDE Document 336-1 Filed 04/08/21 Page 41 of 83 Page ID
                                               #:30485

            1    Chilewich Sultan, LLC, 2013 WL 12131376, at *4 (C.D. Cal., Feb. 20, 2013)
            2    (publication on the Internet does not necessarily destroy information’s status as a trade
            3    secret).
            4           Apple also fails to establish that anyone would have selected these Apple patents
            5    (from among the thousands of patents in this field) as being particularly important, and
            6    then focused on specific portions (from among the dozens of columns of text in the
            7    patents) as providing critical information. Using hindsight knowledge of a trade secret
            8    to assert that a patent discloses all the details of the trade secret, where the patent does
            9    not disclose the importance or criticality of the information recognized by the trade
          10     secret owner, does not establish that the trade secret is generally known. See A.O. Smith,
          11     73 F.2d at 539 (trade secrets can include information that others could have identified);
          12     Imi-Tech, 691 F. Supp. at 231 (trade secrets do not have to be “patentably nonobvious
          13     or novel”); By-Buk, 163 Cal. App. 2d at 166.
          14            Moreover, this Court does not have to, and indeed could not properly, resolve the
          15     merits of Apple’s arguments on this issue. Determining whether information is not a
          16     trade secret “requires a fact-intensive analysis” to show that the information is generally
          17     known. Kittrich, 2013 WL 12131376, at *4. California law directs courts to “preserve
          18     the secrecy of an alleged trade secret by reasonable means, which may include granting
          19     protective orders in connection with discovery proceedings” during litigation. Cal. Civ.
          20     Code § 3426.5 (emphasis added). Accordingly, the Court should protect Plaintiffs’
          21     alleged trade secrets from disclosure unless and until Judge Selna or the jury determines
          22     on the merits that the alleged trade secrets are generally known.
          23            Apple does not address Judge’s Selna’s prior ruling or attempt to explain why
          24     Apple is now seeking an inconsistent ruling. Apple’s motion disregards Judge Selna’s
          25     ruling that, “to the extent that a defendant believes that an alleged trade secret is already
          26     disclosed by patents . . . the appropriate time to raise such an argument is during
          27     summary judgment.” Ex. 10 (Dkt. 264) at 7 (emphasis added). Judge Selna explained
          28     that, “‘[w]hether the alleged trade secrets are actually generally known to the public is a

Gibson, Dunn &
Crutcher LLP     JOINT STIP. RE APPLE’S MOT. TO DE-DESIGNATE 37            CASE NO. 8:20-cv-00048-JVS (JDEX)
             Case 8:20-cv-00048-JVS-JDE Document 336-1 Filed 04/08/21 Page 42 of 83 Page ID
                                               #:30486

            1    question of fact and beyond the scope of a motion to dismiss.’” Id. (emphases added)
            2    (quoting MACOM, 2019 WL 4282906, at *7 (citing Nelson Bros. Pro. Real Estate LLC
            3    v. Jaussi, 2017 WL 8220703, at *5 (C.D. Cal. Mar. 23, 2017))). Judge Selna’s holding
            4    also means that such determinations regarding the merits are beyond the scope of a
            5    procedural motion to de-designate.
            6          Judge Selna further observed that postponing merits decisions regarding
            7    assertions of general knowledge “allows discovery’s ‘iterative process[,] where requests
            8    between parties lead to a refined and sufficiently particularized trade secret
            9    identification,’ to run its course.” Id. (alterations in original) (quoting InteliClear, LLC
          10     v. ETC Glob. Holdings, Inc., 978 F.3d 653, 662 (9th Cir. 2020). Judge Selna’s ruling
          11     was consistent with the Court’s prior determination in MACOM that courts can take
          12     judicial notice of the “existence” of patents but “not the disputed fact that they contain
          13     information rendering it implausible that Plaintiffs’ allege the existence of trade secret
          14     information[.]”). MACOM, 2019 WL 4282906, at *7. Because patents are “highly
          15     technical,” courts are “in no position on a motion to dismiss to sift through patent
          16     applications and discern whether they fully disclose everything about [the trade secret].”
          17     Cedars Sinai Med. Ctr. v. Quest Diagnostic Inc., 2018 WL 2558388, at *5 (C.D. Cal.
          18     Feb. 27, 2018). Courts are similarly in no position to make such determinations on
          19     procedural motions regarding confidentiality designations.
          20           Without mentioning Judge Selna’s ruling on the motion to dismiss, Apple tries to
          21     evade Judge Selna’s analysis by asserting that, “Apple is not making a merits argument
          22     here, i.e., that the information was never Plaintiffs’ trade secret.” Apple asserts that,
          23     because it is arguing that “the information is presently indisputably public” it is not
          24     seeking a determination on the merits. Jt. Stip. at 23 (emphasis in original). Apple is
          25     wrong for three reasons.
          26           First, the standard for negating a trade secret under California law is whether the
          27     information is generally known, not whether it is amorphously “public.” See Cal. Civ.
          28     Code § 3426.1(d) (West 2021).

Gibson, Dunn &
Crutcher LLP     JOINT STIP. RE APPLE’S MOT. TO DE-DESIGNATE 38           CASE NO. 8:20-cv-00048-JVS (JDEX)
             Case 8:20-cv-00048-JVS-JDE Document 336-1 Filed 04/08/21 Page 43 of 83 Page ID
                                               #:30487

            1          Second, asking the Court to determine the present status of Plaintiffs’ trade secrets
            2    is asking for a substantive decision on the merits. Apple is seeking a merits
            3    determination of whether Apple’s patents necessarily render the information ineligible
            4    for trade secret protection. Judge Selna’s prior ruling establishes this fact-intensive
            5    question cannot be resolved before summary judgment.
            6          Third, Apple’s assertion that the present status of Plaintiffs’ trade secrets is
            7    irrelevant to the merits of this case would make its requested determination even less
            8    appropriate. If the determination were irrelevant to the merits of this case, then Apple
            9    would be seeking an impermissible advisory opinion regarding the merits of Plaintiffs’
          10     ability to enforce their trade secrets against third parties in future cases.
          11           Apple argues that Plaintiffs filed Information Disclosure Statements with the
          12     Patent Office that identified the patent numbers of Apple’s patents. Jt. Stip. at 20-21, 23.
          13     Citing a patent number in an Information Disclosure Statement—along with hundreds
          14     of other patent numbers—does not disclose that the patent contains a trade secret, much
          15     less a trade secret that would be valuable to the industry because it belongs to Plaintiffs.
          16     See A.O. Smith, 73 F.2d at 539 (trade secrets can include information that others could
          17     have identified); Imi-Tech, 691 F. Supp. at 231 (trade secrets do not have to be
          18     “patentably nonobvious or novel”). Moreover, this is another argument regarding the
          19     merits that cannot be resolved on this procedural motion. The extent to which Plaintiffs’
          20     patent citations conveyed information to the public, the scope of that information, and
          21     whether any information became generally known, are all factual issues for trial.
          22           Apple cites four cases, but each addressed the fact-intensive issue of the effect of
          23     publication on the enforceability of trade secrets after trial or on summary judgment.
          24     See Henry Hope X-Ray Prods., Inc. v. Marron Carrel, Inc., 674 F.2d 1336 (9th Cir.
          25     1982) (affirming determining after trial that trade secrets were not disclosed in plaintiff’s
          26     patents); Ultimax Cement Mfg. Corp. v. CTS Cement Mfg. Corp., 587 F.3d 1339 (Fed.
          27     Cir. 2009) (affirming summary judgment that alleged trade secrets were disclosed in
          28     foreign patent); Forcier v. Microsoft Corp., 123 F. Supp. 2d 520 (N.D. Cal. 2000)

Gibson, Dunn &
Crutcher LLP     JOINT STIP. RE APPLE’S MOT. TO DE-DESIGNATE 39             CASE NO. 8:20-cv-00048-JVS (JDEX)
             Case 8:20-cv-00048-JVS-JDE Document 336-1 Filed 04/08/21 Page 44 of 83 Page ID
                                               #:30488

            1    (summary judgment); HiRel Connectors, Inc. v. U.S., 2006 WL 3618011 (C.D. Cal. Jan.
            2    25, 2006) (summary judgment). Thus, Apple’s own cited authority proves Plaintiffs’
            3    point: determining whether information is protectable as a trade secret is a merits
            4    decision for summary judgment or trial.
            5          Apple also ignores how inequitable it would be for Apple—the party who
            6    improperly published Plaintiffs’ information—to be able to use its own improper
            7    conduct as a reason to further identify and highlight Plaintiffs’ trade secrets. Indeed,
            8    Judge Selna found the same case Apple cites here, HiRel Connectors, Inc. v. Department
            9    of Defense of the United States, 2005 WL 4958547 (C.D. Cal. Jan. 4, 2005), inapplicable
          10     with respect to “a known misappropriator” like Apple. Ex. 10 (Dkt. 264) at 10.
          11           Apple also argues that this Court should reject Plaintiffs’ confidentiality
          12     designations because another court in Sotera found that Plaintiffs did not “‘account for
          13     its own public disclosures.’” Jt. Stip. at 13 (quoting “Sotera Second Sealing Order at
          14     246”). Apple ignores that the Sotera decision came after trial on the merits where the
          15     court (incorrectly) determined that Masimo had publicly disclosed certain material. Prior
          16     to trial, the Sotera court sealed all of Masimo’s confidential information. Far from
          17     supporting Apple’s position, Apple’s citation to Sotera confirms that Apple’s arguments
          18     are premature and Plaintiffs’ alleged trade secrets should remain AEO at least through
          19     resolution on the merits.
          20           Thus, Apple’s cited cases are all consistent with Judge Selna’s determination that
          21     the effect of publication on the status of a trade secret is a fact-intensive merits issue that
          22     cannot be resolved prior to summary judgment. See Ex. 10 (Dkt. 264) at 7. Apple’s cases
          23     are also consistent with the decisions of other district courts in California that have
          24     similarly concluded that asking “the court to conduct a review of the evidence to
          25     determine whether plaintiffs’ trade secrets have been made public” is not a procedural
          26     issue and “[t]his sort of review is more appropriate on a motion for summary judgment.”
          27     E. & J. Gallo Winery v. Instituut Voor Landbouw-En Visserijonderzoek, 2018 WL
          28     2463869, at *6 (E.D. Cal. June 1, 2018).

Gibson, Dunn &
Crutcher LLP     JOINT STIP. RE APPLE’S MOT. TO DE-DESIGNATE 40             CASE NO. 8:20-cv-00048-JVS (JDEX)
Case 8:20-cv-00048-JVS-JDE Document 336-1 Filed 04/08/21 Page 45 of 83 Page ID
                                  #:30489
Case 8:20-cv-00048-JVS-JDE Document 336-1 Filed 04/08/21 Page 46 of 83 Page ID
                                  #:30490
Case 8:20-cv-00048-JVS-JDE Document 336-1 Filed 04/08/21 Page 47 of 83 Page ID
                                  #:30491
Case 8:20-cv-00048-JVS-JDE Document 336-1 Filed 04/08/21 Page 48 of 83 Page ID
                                  #:30492
Case 8:20-cv-00048-JVS-JDE Document 336-1 Filed 04/08/21 Page 49 of 83 Page ID
                                  #:30493
Case 8:20-cv-00048-JVS-JDE Document 336-1 Filed 04/08/21 Page 50 of 83 Page ID
                                  #:30494
             Case 8:20-cv-00048-JVS-JDE Document 336-1 Filed 04/08/21 Page 51 of 83 Page ID
                                               #:30495

            1                 f)     There is Nothing Unusual or Unfair About Parties Having to
            2                        Rely on Sophisticated Outside Counsel
            3          Plaintiffs fully recognize that, as in many technology cases between competitors,
            4    the Protective Order imposes limitations on outside counsel that make their job more
            5    complicated. It would be much easier for Plaintiffs’ counsel if they could freely discuss
            6    Apple’s technical information with Plaintiffs’ in-house attorneys and technical
            7    employees. Instead, Plaintiffs’ counsel has to rely on their own technical backgrounds
            8    and outside experts. That process is sometimes cumbersome and inconvenient. As this
            9    Court recently observed in True Wearables, the Protective Order “does make things
          10     more difficult.” Ex. M at 213 at 7:8-9; id. at 7:9-10 (reiterating that “[i]t makes things
          11     more difficult.”). However, the restrictions in the Protective Order are “there for a
          12     reason.” Id. at 7:4-5. The restrictions protect each side’s highly confidential information
          13     while enabling full disclosure in discovery and facilitating resolution on the merits. See
          14     id. at 7:6-8 (discussing purpose of a protective order as “to protect competitive harm”
          15     and providing “access to the courts” without requiring litigants to “turn over their crown
          16     jewels to competitors”).
          17           Moreover , the Protective Order “applies to both sides” and “goes both ways.” Id.
          18     at 7:5, 7:9. As this Court explained, “[w]hen you have a case like this with attorneys-
          19     eyes-only designations for what’s probably going to be very important information to
          20     both sides, this is an issue that’s going to constantly be boomeranging back one way.”
          21     Id. at 237 at 32:4-8. The inconvenience to outside counsel, and the frustration of in-
          22     house counsel at not knowing all the details of the case, affects both sides.
          23           As other courts in this circuit have recognized, “[r]equiring a party to rely on its
          24     competent outside counsel does not create an ‘undue and unnecessary burden.’” See Intel
          25     Corp. v. VIA Techs., Inc., 198 F.R.D. 525, 529 (N.D. Cal. 2000) (rejecting Intel’s request
          26     to allow its in-house counsel access to highly confidential material because Intel was
          27     represented by competent outside counsel); see also CytoSport, Inc. v. Vital Pharm.,
          28     Inc., 2010 WL 1904840, at *2 (E.D. Cal. May 10, 2010) (rejecting request for outside

Gibson, Dunn &
Crutcher LLP     JOINT STIP. RE APPLE’S MOT. TO DE-DESIGNATE 47           CASE NO. 8:20-cv-00048-JVS (JDEX)
             Case 8:20-cv-00048-JVS-JDE Document 336-1 Filed 04/08/21 Page 52 of 83 Page ID
                                               #:30496

            1    counsel to view confidential material because “it is not enough that the Protective Order
            2    merely increases the difficulty of managing the litigation” and forcing a party to “rely
            3    on competent outside counsel does not create an ‘undue and unnecessary burden,’
            4    sufficient to demonstrate actual prejudice”). Here, both sides have sophisticated outside
            5    counsel who are very experienced at advising their clients in technology cases without
            6    revealing information that has been designated AEO. There is nothing unique about this
            7    case that would necessitate de-designating Plaintiffs’ AEO material.
            8          Apple also makes various incorrect assertions regarding why Apple supposedly
            9    “must be able to share [Plaintiffs’ legal contentions] with in-house counsel and Apple
          10     employees at this time for the purpose of defending itself against this suit.” Jt. Stip. at
          11     23. As discussed above, this Court and Judge Selna have repeatedly rejected this
          12     argument. Apple’s present argument is also inconsistent with Apple’s prior assertion
          13     (when trying to exclude Plaintiffs’ lead counsel from seeing AEO material) that “[t]he
          14     availability of competent outside counsel is typically sufficient to defeat any claim that
          15     exclusion of in-house counsel would unduly prejudice the nonmoving party.” Ex. 1 (Dkt.
          16     61-1) at 46. Apple employees can review with counsel the development of the Apple
          17     Watch and development of the Apple patents. However, Apple’s litigation counsel
          18     should not be allowed to disclose Plaintiffs’ identification of trade secret categories or
          19     Plaintiffs’ identification of specific patents, much less specific portions of those patents,
          20     as containing Plaintiffs’ trade secrets. Again, Apple should not be allowed to erect signs
          21     identifying where to look for Plaintiffs’ trade secrets. See A.O. Smith, 73 F.2d at 539;
          22     Imi-Tech, 691 F. Supp. at 231.
          23           Apple makes three specific assertions regarding why it supposedly could not
          24     possibly litigate this case if the Court were to continue protecting Plaintiffs’ alleged trade
          25     secrets. First, Apple asserts that “Plaintiffs do not—because they cannot—explain how
          26     Apple should ask potential witnesses or custodians about these allegations.” Jt. Stip. at
          27     24. Apple can easily ask its witnesses to explain how Apple allegedly developed or
          28     contributed to Apple’s patents or the Apple Watch, who was involved, and where to

Gibson, Dunn &
Crutcher LLP     JOINT STIP. RE APPLE’S MOT. TO DE-DESIGNATE 48             CASE NO. 8:20-cv-00048-JVS (JDEX)
             Case 8:20-cv-00048-JVS-JDE Document 336-1 Filed 04/08/21 Page 53 of 83 Page ID
                                               #:30497

            1    locate any related documents. Apple can similarly ask about the information Plaintiffs’
            2    former employees provided to Apple and what Apple’s employees learned from Lamego
            3    and others. Identifying that factual information does not require disclosing to anyone at
            4    Apple anything about Plaintiffs’ legal contentions or the information that Plaintiffs
            5    allege is Plaintiffs’ trade secrets.
            6           Second, Apple asserts that, because Apple’s counsel cannot review with Apple
            7    witnesses interrogatory responses that contain Plaintiffs’ trade secrets, “[i]t is therefore
            8    unclear how Plaintiffs intend to use these responses during depositions, in potential
            9    motions for summary judgment, or at trial.” Jt. Stip. at 24. This argument makes no
          10     sense. Plaintiffs do not intend to use their own interrogatory responses in depositions or
          11     at trial. If the confidentiality designation of Apple’s interrogatory responses affects
          12     Plaintiffs’ ability to use them to question Apple’s witnesses, that would be an issue for
          13     Plaintiffs to address.
          14            Third, Apple argues that “it is indisputable that the inventors listed on the Apple
          15     patents in question will be asked about this information in deposition.” Jt. Stip. at 24.
          16     But there is no reason Plaintiffs’ questioning would include identifying Plaintiffs’ legal
          17     contentions regarding which information is Plaintiffs’ trade secret. Apple’s witnesses
          18     are fact witness who will be asked about the facts, not Plaintiffs’ legal contentions. Thus,
          19     there is no reason Apple’s witnesses would need to “review the information in the
          20     context of Plaintiffs’ assertion that those portions of the patents contain Plaintiffs’
          21     alleged secrets.” Jt. Stip. at 25. To the contrary, it would be concerning if knowing
          22     Plaintiffs’ legal contentions regarding their trade secrets would change the testimony of
          23     Apple’s witnesses regarding the underlying facts.
          24            Apple’s argument regarding the importance of the “context” of Plaintiffs’
          25     assertion highlights the inconsistency in Apple’s arguments. Apple argues that some
          26     information, in the abstract, may be publicly available. At the same time, Apple argues
          27     that the publicly available information is insufficient to identify the alleged trade secrets,
          28     and so Apple wants to disclose to its employees the specific information that Plaintiffs’

Gibson, Dunn &
Crutcher LLP     JOINT STIP. RE APPLE’S MOT. TO DE-DESIGNATE 49             CASE NO. 8:20-cv-00048-JVS (JDEX)
             Case 8:20-cv-00048-JVS-JDE Document 336-1 Filed 04/08/21 Page 54 of 83 Page ID
                                               #:30498

            1    allege is their trade secrets. Apple’s argument admits that the information Plaintiffs
            2    allege is their trade secrets is not discernable from other sources. The identification of
            3    specific information that is Plaintiffs’ trade secrets, from among the sea of public
            4    information, is itself highly confidential and properly designated AEO. See, e.g., A.O.
            5    Smith, 73 F.2d at 539; Imi-Tech, 691 F. Supp. at 231; see also Metricolor LLC v. L’oreal
            6    S.A., 2020 WL 3802942, at *12 (C.D. Cal. July 7, 2020) (“combinations of public
            7    information from a variety of different sources when combined in a novel way can be a
            8    trade secret”).
            9          Thus, Apple is wrong when it claims that it “cannot adequately prepare its
          10     witnesses under such circumstances because it could not explain to its witnesses which
          11     portions of the patents are the subject of Plaintiffs’ claim.” Jt. Stip. at 25. There is no
          12     reason Apple’s witnesses would need to know anything about Plaintiffs’ allegations or
          13     Plaintiffs’ claims in order to discuss the facts, or to answer Plaintiffs’ questions about
          14     facts during depositions and at trial.
          15           Finally, Apple claims that “Plaintiffs’ designations would lead to an absurd and
          16     unfair result: Apple witnesses would be prevented from knowing which portions of
          17     Apple’s own patents Plaintiffs allege contain Plaintiffs’ trade secrets until (if at all) those
          18     witnesses are questioned in deposition about such information.” Jt. Stip. at 25. As
          19     discussed above, there is no reason Plaintiffs’ questioning of Apple’s witnesses (or
          20     Apple’s preparation of witnesses) would require revealing which portions of the patents
          21     contain Plaintiffs’ trade secrets. There is nothing absurd or unfair about Apple preparing
          22     its witnesses to testify about the facts, and Plaintiffs questioning Apple’s witnesses
          23     regarding the facts, without first informing those witnesses about Plaintiffs’ legal
          24     contention as to which information is Plaintiffs’ trade secrets.
          25
          26
          27
          28

Gibson, Dunn &
Crutcher LLP     JOINT STIP. RE APPLE’S MOT. TO DE-DESIGNATE 50             CASE NO. 8:20-cv-00048-JVS (JDEX)
             Case 8:20-cv-00048-JVS-JDE Document 336-1 Filed 04/08/21 Page 55 of 83 Page ID
                                               #:30499

            1          Accordingly, Plaintiffs’ allegations regarding their trade secrets are properly
            2    designated as AEO, particularly in light of the information Plaintiffs have allowed
            3    Apple’s litigation counsel to share with Apple’s in-house counsel.6
            4
            5
            6
            7
            8
            9
          10
          11
          12
          13
          14
          15
          16
          17
          18
          19
          20
          21
          22
          23
          24
          25
          26
          27
          28
                 6
                  Corresponding disclosures in Plaintiffs’ 2019 Disclosure are properly designated AEO
                 for the same reasons.
Gibson, Dunn &
Crutcher LLP     JOINT STIP. RE APPLE’S MOT. TO DE-DESIGNATE 51         CASE NO. 8:20-cv-00048-JVS (JDEX)
             Case 8:20-cv-00048-JVS-JDE Document 336-1 Filed 04/08/21 Page 56 of 83 Page ID
                                               #:30500

            1    B.    Images in the Fourth Amended Complaint
            2                 1.    Information at Issue
            3
            4
            5
            6
            7
            8
            9
          10
          11
          12
          13
          14
          15
          16
          17
          18
          19
          20
          21
          22
          23
          24
          25
          26
          27
          28

Gibson, Dunn &
Crutcher LLP     JOINT STIP. RE APPLE’S MOT. TO DE-DESIGNATE 52   CASE NO. 8:20-cv-00048-JVS (JDEX)
Case 8:20-cv-00048-JVS-JDE Document 336-1 Filed 04/08/21 Page 57 of 83 Page ID
                                  #:30501
Case 8:20-cv-00048-JVS-JDE Document 336-1 Filed 04/08/21 Page 58 of 83 Page ID
                                  #:30502
             Case 8:20-cv-00048-JVS-JDE Document 336-1 Filed 04/08/21 Page 59 of 83 Page ID
                                               #:30503

            1    (https://www.ifixit.com/Teardown/Apple+Watch+Series+6+Teardown/136694), Ex. T
            2    (https://www.techinsights.com/blog/apple-watch-teardown). Thus, these pictures (by
            3    themselves, without annotations) do not reveal Plaintiffs’ Confidential—let alone
            4    “extremely confidential” or “sensitive ‘Confidential or Items.’” PO § 4.4.
            5          There is no question that Apple’s in-house counsel and other personnel should be
            6    able to see these pictures—particularly as they are images of products built by Apple,
            7    and Apple is therefore already aware of every component therein. Plaintiffs’ argument
            8    that the pictures are confidential because they “reveal selections of Plaintiffs’ tear downs
            9    of specific components that highlight Plaintiffs’ trade secrets,” Kaounis Decl., Ex. H at
          10     46, still does not justify maintaining the information as AEO. Critically, Apple is not
          11     requesting de-designation of the arrows with which Plaintiffs annotated the pictures of
          12     the Apple Watch. Those arrows will remain redacted, so Apple would be able to see
          13     only pictures of entire sections of the Apple Watch—pictures that are easily available to
          14     the public. See Kaounis Decl., Exs. P, Q, R, S, & T.
          15           Plaintiffs likewise fail to meet their burden under the Protective Order with
          16     respect to their improper AEO designations of these pictures. Plaintiffs have not argued
          17     how disclosure of pictures of the Apple Watch to Apple would cause them competitive
          18     harm, because there is no possible way it could. Although Apple disputes that it is using
          19     Plaintiffs’ trade secrets, to the extent these features are already incorporated into the
          20     Apple Watch, the benefits of these alleged secrets are already known to Apple, and no
          21     competitive harm could arise from disclosing these pictures to Apple’s in-house counsel
          22     or personnel. As explained above, no harm can possibly come from disclosing to Apple
          23     that which it already knows.
          24           On the other hand, it is extremely important to Apple’s ability to mount a defense
          25     that it be allowed to show its in-house counsel and personnel the portion of the Apple
          26     Watch structure at issue. Lerner Decl. ¶ 6. The pictures disclose the general location of
          27     where the purportedly misappropriated secrets reside in the Apple Watch. Id. Sharing
          28     this information with Apple personnel under the Protective Order is necessary in order

Gibson, Dunn &
Crutcher LLP     JOINT STIP. RE APPLE’S MOT. TO DE-DESIGNATE 55           CASE NO. 8:20-cv-00048-JVS (JDEX)
             Case 8:20-cv-00048-JVS-JDE Document 336-1 Filed 04/08/21 Page 60 of 83 Page ID
                                               #:30504

            1    to fully investigate Plaintiffs’ allegations, identify the individuals most knowledgeable
            2    about the subject matter—including possible custodians and witnesses—and identify
            3    relevant documents. Id.
            4          The Court should compel Plaintiffs to withdraw their AEO designation of the
            5    photos of the Apple Watch.
            6
            7
            8
            9
          10
          11
          12
          13
          14
          15
          16
          17
          18
          19
          20
          21
          22
          23
          24
          25
          26
          27
          28

Gibson, Dunn &
Crutcher LLP     JOINT STIP. RE APPLE’S MOT. TO DE-DESIGNATE 56         CASE NO. 8:20-cv-00048-JVS (JDEX)
Case 8:20-cv-00048-JVS-JDE Document 336-1 Filed 04/08/21 Page 61 of 83 Page ID
                                  #:30505
Case 8:20-cv-00048-JVS-JDE Document 336-1 Filed 04/08/21 Page 62 of 83 Page ID
                                  #:30506
             Case 8:20-cv-00048-JVS-JDE Document 336-1 Filed 04/08/21 Page 63 of 83 Page ID
                                               #:30507

            1    231. Moreover, Apple’s selection of specific images is based on reviewing Plaintiffs’
            2    allegations. Apple offers no reason why any competitor would have identified those
            3    particular images, from among all the images in a teardown, as illustrating particularly
            4    relevant information, much less as illustrating aspects of Plaintiffs’ trade secrets.
            5          The issue is not, as Apple appears to frame it, whether pictures of the Apple Watch
            6    in the abstract would be properly designated as AEO. Apple argues that, “[a]nyone is
            7    free to buy an Apple Watch, dismantle it, and take pictures of it” and that “[s]imilar
            8    pictures of such interior components of the Apple watch are already widely available on
            9    the Internet.” Jt. Stip. at 53. Apple argues that similar pictures “can be derived from a
          10     tear down of the commercially available Apple Watch[.]” Id. That is irrelevant because
          11     Apple is not seeking to de-designate publicly available images that have nothing to do
          12     with this case. Indeed, even Apple admits that, in the context of Plaintiffs’ allegations,
          13     the individual images at least “disclose the general location of where the purportedly
          14     misappropriated secrets reside in the Apple Watch.” Jt. Stip. at 55. No public image
          15     discloses such information. Moreover, no teardown of an Apple Watch would identify
          16     these specific images, or this combination of images, as identifying aspects of Plaintiffs’
          17     trade secrets.
          18           Plaintiffs created and presented these specific images, and this specific
          19     combination of images, to illustrate aspects of Plaintiffs’ trade secrets. Disclosing these
          20     images in that context would provide highly confidential information about Plaintiffs’
          21     trade secrets even without the annotating arrows. See A.O. Smith, 73 F.2d at 539; Head
          22     Ski, 158 F. Supp. at 923; Imi-Tech, 691 F. Supp. at 231. Competitors, including Apple,
          23     could use this information to focus their research and development efforts. Disclosure
          24     of such information to others would likely cause harm or significant competitive
          25     disadvantage to Plaintiffs. Diab Decl., ¶ 10. Accordingly, Plaintiffs properly designated
          26     the images as AEO under the Protective Order and Plaintiffs’ selection of those images
          27     should retain that designation. See Ex. AI (Dkt. 67) ¶ 4.4.
          28

Gibson, Dunn &
Crutcher LLP     JOINT STIP. RE APPLE’S MOT. TO DE-DESIGNATE 59           CASE NO. 8:20-cv-00048-JVS (JDEX)
Case 8:20-cv-00048-JVS-JDE Document 336-1 Filed 04/08/21 Page 64 of 83 Page ID
                                  #:30508
Case 8:20-cv-00048-JVS-JDE Document 336-1 Filed 04/08/21 Page 65 of 83 Page ID
                                  #:30509
             Case 8:20-cv-00048-JVS-JDE Document 336-1 Filed 04/08/21 Page 66 of 83 Page ID
                                               #:30510

            1    for Plaintiffs’ trade secrets by disclosing to Apple the specific components that Plaintiffs
            2    contend incorporate Plaintiffs’ trade secrets. See A.O. Smith, 73 F.2d at 539; Head Ski,
            3    158 F. Supp. at 923; Imi-Tech, 691 F. Supp. at 231.
            4          Apple argues that identifying Plaintiffs’ trade secrets to Apple could not harm
            5    Plaintiffs because, “to the extent these features are already incorporated into the Apple
            6    Watch, the benefits of these alleged secrets are already known to Apple, and no
            7    competitive harm could arise from disclosing these pictures to Apple’s in-house counsel
            8    or personnel.” Jt. Stip. at 55. That is false for same reasons discussed above with respect
            9    to Apple’s assertion that Plaintiffs could not be harmed by disclosing to Apple the
          10     specific portions of Apple’s patents that contain Plaintiffs’ trade secrets. First, the mere
          11     fact that Plaintiffs’ trade secrets were incorporated into the Apple Watch does not mean
          12     that Apple’s current engineers understand the benefit of those trade secrets. Lamego may
          13     have brought Plaintiffs’ trade secrets to Apple and used them to design aspects of the
          14     Apple Watch without explaining the benefits of those trade secrets to anyone currently
          15     employed by Apple. Similarly, Lamego or others could have used Plaintiffs’ trade
          16     secrets to develop components of the Apple Watch without disclosing those trade secrets
          17     to the Apple engineers currently working on the Apple Watch. Moreover, even if some
          18     Apple engineers once knew some of Plaintiffs’ trade secrets that are incorporated into
          19     the Apple Watch, it would not mean that all of Apple’s engineers currently know or
          20     remember all of Plaintiffs’ trade secrets that are incorporated into the Apple Watch. De-
          21     designating Plaintiffs’ allegations would allow Apple to circulate this information
          22     among a wider group of Apple’s engineers.
          23           Apple’s final argument is that “it is extremely important to Apple’s ability to
          24     mount a defense that it be allowed to show its in-house counsel and personnel the portion
          25     of the Apple Watch structure at issue.” Jt. Stip. at 55. This assertion is inconsistent with
          26     Apple’s earlier argument that, Apple is “already aware of every component” in the Apple
          27     Watch. Jt. Stip. at 55. By its own admission, Apple is already in a position to ask its
          28     employees about every component of the Apple Watch. Apple’s argument is also

Gibson, Dunn &
Crutcher LLP     JOINT STIP. RE APPLE’S MOT. TO DE-DESIGNATE 62           CASE NO. 8:20-cv-00048-JVS (JDEX)
             Case 8:20-cv-00048-JVS-JDE Document 336-1 Filed 04/08/21 Page 67 of 83 Page ID
                                               #:30511

            1    inconsistent with the position it took when trying to exclude Plaintiffs’ outside counsel
            2    from having access to Apple’s AEO material. At the time, Apple recognized that “[t]he
            3    availability of competent outside counsel is typically sufficient to defeat any claim that
            4    exclusion of in-house counsel would unduly prejudice the nonmoving party.” Ex. 1 (Dkt.
            5    61-1) at 46. Moreover, as discussed above, this Court has repeatedly rejected these same
            6    arguments regarding Apple’s supposed need to disclose this information to in-house
            7    counsel and engineers. See Exs. AI & AJ (Dkts. 67 & 93).
            8          Apple cites an attorney assertion that “[s]haring this information with Apple
            9    personnel under the Protective Order is necessary in order to fully investigate Plaintiffs’
          10     allegations, identify the individuals most knowledgeable about the subject matter—
          11     including possible custodians and witnesses—and identify relevant documents.” Jt. Stip.
          12     at 55-56. Apple makes no attempt to explain this assertion. In addition to being
          13     inconsistent with Apple’s prior arguments, it is demonstrably false. As discussed above,
          14     Apple’s attorneys can investigate the facts by asking Apple employees about who is
          15     knowledgeable regarding the various features of the Apple Watch, how those features
          16     were developed, who was involved in developing those features, where documents
          17     related to the development are located, and search terms that can be used to identify
          18     email and other electronically stored information regarding such development. None of
          19     that requires that Apple’s attorneys disclose to Apple employees Plaintiffs’ specifically
          20     selected images or that Plaintiffs’ identified those images as illustrating Plaintiffs’ trade
          21     secrets.
          22           Accordingly, Plaintiffs’ creation, selection, and presentation of these images are
          23     properly designated as AEO
          24
          25
          26
          27
          28

Gibson, Dunn &
Crutcher LLP     JOINT STIP. RE APPLE’S MOT. TO DE-DESIGNATE 63            CASE NO. 8:20-cv-00048-JVS (JDEX)
Case 8:20-cv-00048-JVS-JDE Document 336-1 Filed 04/08/21 Page 68 of 83 Page ID
                                  #:30512
Case 8:20-cv-00048-JVS-JDE Document 336-1 Filed 04/08/21 Page 69 of 83 Page ID
                                  #:30513
             Case 8:20-cv-00048-JVS-JDE Document 336-1 Filed 04/08/21 Page 70 of 83 Page ID
                                               #:30514

            1                 2.    Apple’s Position
            2          Plaintiffs’ AEO designation of information in its chart identifying potential ESI
            3    custodians and their high-level, general relevance to this case (see Section § I.C, supra)
            4    may be the most egregious example of their abuse of confidentiality designations under
            5    the PO. Plaintiffs provided this information—entirely designated as AEO—to Apple’s
            6    outside counsel during the parties’ negotiations concerning ESI custodians. Plaintiffs
            7    claim that the names of Masimo/Cercacor employees who are easily found on LinkedIn
            8    and their purported high-level relevance to this matter, e.g., that they were employed by
            9    Plaintiffs and/or may have information relevant to the claims herein, is somehow AEO
          10     information. Kaounis Decl., Ex. U at 324. Although Plaintiffs agreed to make an
          11     “exception” to permit Apple in-house counsel to see the information, they nonetheless
          12     maintain the AEO designation for this information. Id. at 322.7 Plaintiffs’ only
          13     attempted (and wholly insufficient) justification for this plainly improper designation is
          14     their unfounded “assertion that Apple has been systematically recruiting employees,”
          15     based on their fabricated “concern[] that Apple could improperly use this information
          16     for recruiting purposes.” Id. Plaintiffs’ continued AEO designation for this information
          17     is overbroad and improper and Apple requests that this information be completely de-
          18     designated. At the very least, and in the alternative, the designation for the information
          19     identified in the chart in Section I.C, supra, should be reduced to Confidential.
          20           Plaintiffs’ justifications for retaining the AEO designation fail for several reasons.
          21     First, according to Plaintiffs’ own logic—that information in the chart is somehow
          22     confidential because it reflects what individual employees do or know—Plaintiffs
          23     should have agreed to de-designate portions of the chart that do not identify an
          24     “individual[’]s roles and knowledge at Plaintiffs,” but they did not do that.
          25
          26
          27      7
                    During the meet and confer process, Plaintiffs agreed to de-designate to
          28     “confidential” other information in the chart that identified Apple employees or
                 consultants as potential ESI custodians.
Gibson, Dunn &
Crutcher LLP     JOINT STIP. RE APPLE’S MOT. TO DE-DESIGNATE 66           CASE NO. 8:20-cv-00048-JVS (JDEX)
Case 8:20-cv-00048-JVS-JDE Document 336-1 Filed 04/08/21 Page 71 of 83 Page ID
                                  #:30515
             Case 8:20-cv-00048-JVS-JDE Document 336-1 Filed 04/08/21 Page 72 of 83 Page ID
                                               #:30516

            1    efforts. Sotera Second Sealing Order at 250, 258. Their approach to their AEO
            2    designations here continues to flout these courts’ admonitions and should be stopped.
            3    The Court should compel Plaintiffs’ to withdraw their improper AEO designations of all
            4    of the above public information.
            5
            6
            7
            8
            9
          10
          11
          12
          13
          14
          15
          16
          17
          18
          19
          20
          21
          22
          23
          24
          25
          26
          27
          28

Gibson, Dunn &
Crutcher LLP     JOINT STIP. RE APPLE’S MOT. TO DE-DESIGNATE 68        CASE NO. 8:20-cv-00048-JVS (JDEX)
             Case 8:20-cv-00048-JVS-JDE Document 336-1 Filed 04/08/21 Page 73 of 83 Page ID
                                               #:30517

            1                 3.     Plaintiffs’ Position
            2          Plaintiffs’ ESI disclosures convey much more information than the mere fact that
            3    someone is employed by Plaintiffs, or public aspects of their job responsibilities. Again,
            4    context matters. The identity of Plaintiffs’ ESI custodians who are likely to have
            5    discoverable information provides a list of key employees with knowledge of the trade
            6    secrets at issue. Plaintiffs’ competitors could use this highly confidential information to
            7    target and recruit Plaintiffs’ employees who were involved in developing Plaintiffs’
            8    technology and trade secrets. See In re Adobe Sys., Inc. Sec. Litig., 141 F.R.D. 155, 163
            9    (N.D. Cal. 1992) (recognizing confidential nature of documents that contain identities
          10     of key personnel). Disclosure of such information is likely to cause harm or significant
          11     competitive disadvantage to Plaintiffs because Plaintiffs’ identification of ESI
          12     custodians could be used as a roadmap for how to raid Plaintiffs’ research and marketing
          13     departments. Diab Decl., ¶ 11. Accordingly, Plaintiffs properly designated their ESI
          14     disclosures as AEO under the Protective Order. See Ex. AI (Dkt. 67) ¶ 4.4.
          15           Plaintiffs’ concern is particularly acute with respect to disclosure to Apple.
          16     Apple’s misappropriation of Plaintiffs’ trade secrets included “systematically hiring
          17     Plaintiffs’ employees, including Masimo’s former Chief Medical Officer, Michael
          18     O’Reilly, and many others.” Ex. 6 (4thAC) ¶ 230. Plaintiffs should not have to share
          19     confidential employee information with a competitor that has already shown it will target
          20     and recruit Plaintiffs’ employees for the purpose of stealing Plaintiffs’ trade secrets.
          21           Apple falsely asserts that publicly available social media profiles, including
          22     LinkedIn, disclose the same information. A competitor would not be able to compile the
          23     list of names in Plaintiffs’ ESI disclosures from publicly available job titles and
          24     descriptions of positions. Plaintiffs have thousands of employees, hundreds of whom are
          25     on LinkedIn, and nothing in their profiles suggests which ones Plaintiffs identified in
          26     their ESI disclosures in this case. Information about which of Plaintiffs’ employees were
          27     involved in developing the highly confidential technology and trade secrets at issue in
          28     this case, and which have knowledge about that technology and trade secrets, is not

Gibson, Dunn &
Crutcher LLP     JOINT STIP. RE APPLE’S MOT. TO DE-DESIGNATE 69           CASE NO. 8:20-cv-00048-JVS (JDEX)
             Case 8:20-cv-00048-JVS-JDE Document 336-1 Filed 04/08/21 Page 74 of 83 Page ID
                                               #:30518

            1    publicly available. A competitor who tried to guess the names of employees who are
            2    knowledgeable about specific aspects of Plaintiffs’ business might be correct about some
            3    and would be wrong about others. The only way a competitor could compile a
            4    comprehensive list would be to use Plaintiffs’ ESI custodian list—which confirms it was
            5    properly designated AEO.
            6          Apple also fails to acknowledge that Plaintiffs already allowed Apple’s in-house
            7    counsel to have access to Plaintiffs’ ESI disclosures. Ex. 11. Although Apple’s in-
            8    house counsel has no need for this information, Plaintiffs agreed to allow them to see
            9    the list in order to avoid needless motion practice and because Apple represented that its
          10     objection to Plaintiffs’ designation was that it precluded in-house counsel access.
          11     Unfortunately, after giving the information to its in-house counsel, Apple sought even
          12     broader disclosure by demanding that it be able to disclose the material to other
          13     employees. See Exs. 7 & 8.
          14           Apple has no reason why its non-attorney employees would need to see this
          15     information. Apple is welcome to ask its employees for the names of anyone at Plaintiffs
          16     from whom they think Plaintiffs should collect ESI. Apple employees can provide that
          17     information without knowing who Plaintiffs consider reasonably likely to have
          18     discoverable information.
          19           Apple asserts that, “once parsed” into individual rows, each individual row might
          20     not reveal highly confidential information. Jt. Stip. at 67. Apple’s arguments regarding
          21     the information that could be gleaned from individual rows, if they were considered in
          22     a vacuum, misses the point. Disclosing that the information in the rows, particularly the
          23     employee names, came from Plaintiffs’ ESI disclosure would disclose the highly
          24     confidential information that those employees were likely involved in developing the
          25     technology and trade secrets at issue or have knowledge of such trade secrets.
          26           Apple’s argument that Plaintiffs should have “agreed to de-designate portions of
          27     the chart that do not identify an ‘individual[’]s roles and knowledge at Plaintiffs’”
          28     similarly ignores that it is primarily the names that are highly confidential. Revealing an

Gibson, Dunn &
Crutcher LLP     JOINT STIP. RE APPLE’S MOT. TO DE-DESIGNATE 70           CASE NO. 8:20-cv-00048-JVS (JDEX)
             Case 8:20-cv-00048-JVS-JDE Document 336-1 Filed 04/08/21 Page 75 of 83 Page ID
                                               #:30519

            1    employee is on the ESI list necessarily reveals that they were likely involved in
            2    developing the trade secrets and technology at issue or have related knowledge. De-
            3    designating the names in left column would reveal this highly confidential information.
            4    Plaintiffs would have no issue with de-designating the right column provided the
            5    associated names remain AEO, but Apple has never asked for that.
            6          Accordingly, Plaintiffs’ ESI disclosures are properly designated as AEO. Apple
            7    cannot show any prejudice particularly because Plaintiffs already allowed Apple’s in-
            8    house counsel to have access to this information.
            9
          10
                 Dated: April 8, 2021                   GIBSON, DUNN & CRUTCHER LLP
          11
          12                                            By:       /s/ Joshua H. Lerner
                                                                  Joshua H. Lerner
          13                                                      H. Mark Lyon
                                                                  Brian M. Buroker
          14                                                      Brian A. Rosenthal
                                                                  Ilissa Samplin
          15                                                      Angelique Kaounis
                                                                  Brian K. Andrea
          16
                                                        Attorneys for Defendant Apple Inc.
          17
          18
                 Dated: April 8, 2021                   KNOBBE, MARTENS, OLSON & BEAR LLP
          19
          20
                                                        By:       /s/ Adam B. Powell
          21                                                      Joseph R. Re
                                                                  Stephen C Jensen
          22                                                      Perry D. Oldham
                                                                  Stephen W Larson
          23                                                      Adam B. Powell
          24                                            Attorneys for Plaintiffs Masimo Corporation
                                                        and Cercacor Laboratories, Inc.
          25
          26
          27
          28

Gibson, Dunn &
Crutcher LLP     JOINT STIP. RE APPLE’S MOT. TO DE-DESIGNATE 71            CASE NO. 8:20-cv-00048-JVS (JDEX)
             Case 8:20-cv-00048-JVS-JDE Document 336-1 Filed 04/08/21 Page 76 of 83 Page ID
                                               #:30520

            1                   ATTESTATION UNDER LOCAL RULE 5-4.3.4(a)(2)(i)
            2          Pursuant to Civil L. R. 5-4.3.4(a)(2)(i), I attest that concurrence in the filing of
            3    this document has been obtained from each of the signatories above.
            4                                            By: /s Joshua H. Lerner
            5                                                  Joshua H. Lerner

            6                                            Attorney for Defendant Apple Inc.

            7
            8
            9
          10
          11
          12
          13
          14
          15
          16
          17
          18
          19
          20
          21
          22
          23
          24
          25
          26
          27
          28

Gibson, Dunn &
Crutcher LLP     JOINT STIP. RE APPLE’S MOT. TO DE-DESIGNATE 72           CASE NO. 8:20-cv-00048-JVS (JDEX)
Case 8:20-cv-00048-JVS-JDE Document 336-1 Filed 04/08/21 Page 77 of 83 Page ID
                                  #:30521




                       Exhibit A
  Case8:20-cv-00048-JVS-JDE
 Case  8:20-cv-00048-JVS-JDE Document
                              Document37
                                       336-1
                                          FiledFiled 04/08/21
                                                04/17/20      Page
                                                           Page 1 of 78
                                                                     1 of 83 ID
                                                                        Page  Page  ID
                                                                                #:2605
                                     #:30522
                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          SACV 20-00048JVS(JDEx)                                                Date     April 17, 2020

 Title             Masimo Corporation, et al v Apple, Inc


 Present: The                    James V. Selna, U.S. District Court Judge
 Honorable
                         Lisa Bredahl                                                  Not Present
                         Deputy Clerk                                                 Court Reporter
                Attorneys Present for Plaintiffs:                     Attorneys Present for Defendants:
                          Not Present                                                  Not Present

 Proceedings:           [IN CHAMBERS] ORDER RE SCHEDULING DATES

         The Court has read and considered the parties Rule 26(f) Report and sets the following dates:

                            Jury Trial                             April 5, 2022 at 8:30 a.m.
                            Final PreTrial Conference              March 21, 2022 at 11:00 a.m.
                             File PreTrial Documents not later than March 7, 2022
                             File motions in limine not later than February 14, 2022
                            Discovery Cut-off                      July 5, 2021
                            Expert Discovery Cut-off               December 6, 2021
                             Initial disclosure of Experts not later than September 6, 2021
                             Rebuttal disclosure of Experts not later than October 18, 2021
                            Law and Motion Cut-off                  February 7, 2022 at 1:30 p.m.
                              Motions to be filed and served not later than January 10, 2022
                            Markman Hearing                        February 8, 2021 at 3:00 p.m.

        Counsel inform the Court that their selection for a settlement procedure pursuant to Local Rule
16-15 is ADR #3, private mediation. The Court orders that any settlement discussions shall be
completed not later than November 30, 2021. Counsel shall file a Joint Report of the parties regarding
outcome of settlement discussions, the likelihood of possible further discussions and any help the Court
may provide with regard to settlement negotiations not later than seven (7) days after the settlement
conference.
        The Court adopts discvoery limits in Sections 6a-c. Total hours for depositions 100. Court will
deal with reduction of claims, prior art references at a hearing on July 10, 2020 at 3:00 p.m. Parties
shall submit joint/separate proposals in one filing by July 3, 2020. The Court adopts the patent specific
dates. The Court stays the trade secret discovery only pending compliance with 2019.210. Any dispute
over compliance shall be heard before the Magistrate Judge.
                                                                                                          :        0

                                                               Initials of Preparer         lmb


CV-90 (06/04)                                  CIVIL MINUTES - GENERAL                                         Page 1 of 1
Case 8:20-cv-00048-JVS-JDE Document 336-1 Filed 04/08/21 Page 79 of 83 Page ID
                                  #:30523




                        Exhibit B
Case
 Case8:20-cv-00048-JVS-JDE
       8:20-cv-00048-JVS-JDEDocument
                             Document205
                                       336-1
                                          FiledFiled
                                                09/21/20
                                                     04/08/21
                                                           Page
                                                              Page
                                                                1 of 80
                                                                     3 of
                                                                        Page
                                                                          83 ID
                                                                              Page
                                                                                #:14548
                                                                                    ID
                                     #:30524



     1

     2

     3

     4

     5

     6

     7

     8

     9

    10

    11                     IN THE UNITED STATES DISTRICT COURT
    12                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
    13                                 SOUTHERN DIVISION
    14
          MASIMO CORPORATION,                     ) Case No. 8:20-cv-00048-JVS-JDE
    15    a Delaware corporation; and             )
          CERCACOR LABORATORIES, INC.,            ) Hon. James V. Selna
    16    a Delaware corporation                  ) Magistrate Judge John D. Early
                                                  ) ORDER GRANTING
    17                Plaintiffs,                 ) STIPULATION TO AMEND THE
                                                  ) SCHEDULING ORDER
    18          v.                                )
                                                  )
    19    APPLE INC., a California corporation    )
                                                  )
    20                                            )
                      Defendant.                  )
    21                                            )
                                                  )
    22                                            )
    23

    24

    25

    26

    27

    28
Case
 Case8:20-cv-00048-JVS-JDE
       8:20-cv-00048-JVS-JDEDocument
                             Document205
                                       336-1
                                          FiledFiled
                                                09/21/20
                                                     04/08/21
                                                           Page
                                                              Page
                                                                2 of 81
                                                                     3 of
                                                                        Page
                                                                          83 ID
                                                                              Page
                                                                                #:14549
                                                                                    ID
                                     #:30525
Case
 Case8:20-cv-00048-JVS-JDE
       8:20-cv-00048-JVS-JDEDocument
                             Document205
                                       336-1
                                          FiledFiled
                                                09/21/20
                                                     04/08/21
                                                           Page
                                                              Page
                                                                3 of 82
                                                                     3 of
                                                                        Page
                                                                          83 ID
                                                                              Page
                                                                                #:14550
                                                                                    ID
                                     #:30526
Case 8:20-cv-00048-JVS-JDE Document 336-1 Filed 04/08/21 Page 83 of 83 Page ID
                                  #:30527




                        Exhibit C
         Redacted Version of Exhibit
       Proposed to Be Filed Under Seal
